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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,
                                                Case No. 1:18-cv-05774-AT
v.

ECOVEST CAPITAL, INC., et al.

                    Defendants.


                             JOINT STATUS REPORT

      The United States; EcoVest Capital, Inc., Alan Solon, Ralph Teal, and

Robert McCullough (collectively, “the EcoVest Parties”); and Claud Clark III

respectfully submit this joint status report.

      On November 18, 2022, by joint motion (ECF No. 409), the parties

requested a stay of the above-referenced case while the appropriate Justice

Department officials reviewed formal, separate written settlement offers submitted

to the United States by the EcoVest Parties and Clark. These settlement offers, if

accepted, would resolve all the claims in this case. On November 21, 2022, the

Court granted in part and denied in part the parties’ joint motion to stay this matter

pending review of these settlement offers. (ECF No. 410.) The Court subsequently
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directed the parties to provide an update to the Court on or before March 6, 2023.

(ORDER by docket entry only, 1/23/23.)

      The United States reports that the written settlement offers submitted by the

EcoVest Parties and Clark have been accepted on behalf of the Attorney General.

The United States communicated this acceptance to counsel for the EcoVest

Parties and Clark on March 2, 2023. The settlement agreement provides a brief

period of performance for various settlement obligations. The parties therefore

jointly request that the stay continue for a definite period – until March 31, 2023 –

to allow for performance of the terms of the settlement. On or before March 31,

2023, the parties will file a joint motion for entry of final judgment, along with the

necessary supporting documents, for the Court’s approval.

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Respectfully submitted by:

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                    CERTIFICATE OF COMPLIANCE

     I certify that this document was formatted in Times New Roman 14 pt., in

compliance with Local Rule 5.1C.

                                    s/ Richard G. Rose




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